IT |S ORDERED
Date Entered on Docket: August 8, 2018

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yt co The Honorable David T. Thuma
wax oe United States Bankruptcy Judge

UNTPED STATES BANKRUPTCY APPELLATE PANEL
OF THE TENTH CIRCUIT

IN RE: FRED DALE VAN WINKLE,

Debtor,
BAP No. NM-i7-031
TAMMY SPRAGUE, personal represeniatis ¢ BAP No, NM-17-032
ofthe estate of Fred Dale Van Winkle,
BAP No. NM-17-033
Plaintiff-Appellee,

v, Bankr. No. 13-11743
Adv. No $5-01047

JOUN WILLLAMS, ELLEN B. WILLIAMS,

and Chapter 7

BELLEVIEW VALLEY LAND CO. INC,,

Defendanis-\ppellants.

ORDER TERMINATING AUTOMATIC STAY

THIS MATTER came on before the Court upon the stipulation of the parties herein.

Tammy Sprague. Personal Representative being represented by Prey Arvizu ol Arvizu Law

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PLAINTIFF'S
EXHIBIT

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Case 20-01022-t Doc 40-5 Filed 03/26/21 Entered 03/26/21 12:
Office. and the Williams. Belleview Valley Land Co., tae. represented by their counsel WT,
Martin Jr, of Martin, Dugan, and Martin. and Jennie Deden Behles of B.L.F. LLC te ierminate
this stay in this matter which was entered on June 30, 2015 docket no. 7. having been entered
upon the stipulation of these parties. and the Court having otherwise been fully advised FINDS:

That cause exists, as indicated by counsel to terminate the Stay in the pending state court
matters in Otero Counts ‘and Lincoln County collectively referred to as the state court Hiugation
in the Motion on grounds as follows:

| The issues before this Court between the parties which have been determined and
are NO longer subject to appeal with only such exception as May relate to the requested allowance
of attorney ‘s fees claimed by counsel for Sprague following the filing of the Notice of Appeal to
the 10th Circuit BAP which is pending before this Court and fulls briefed,

2 Uhe parties desire to complete the state court Iitigation and have a final
determination of the rights of the parties vis-d-vis each other therein.
3, The parties have stipulated to the termination of the stipulated order stasing the
matters. Tae Stay under PL USC Section 362 as pertains to the state court case in Otero County,
and the state court case Lineoln County referenced: and that the Order of this Court enjoining the
parties from any active participation in the state court litigation be and it is herebs terminated
and dissolved.

“END OF ORDER **#

Entered July 31. 2018.

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Respectully submitted.
BLP. LLC

xf Electronically filed

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By vise Jennie Deden Buliles
Jennie Deden Behles

* Stata of New Mexico, Tweifth ludicia! Oiscrict Court, County of Oterc, Case No. CV-2010-1054
State cf New Mexico , Twelfth Judicial District Court, County of Lincoln, Case No. CV-2015-55.

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